Case 2:18-cv-08518-RGK-AFM Document 200 Filed 01/21/22 Page 1 of 5 Page ID #:4825




                              NOT FOR PUBLICATION                           FILED
                       UNITED STATES COURT OF APPEALS                        JAN 21 2022
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
                              FOR THE NINTH CIRCUIT

   COVVES, LLC,                                    No.    21-55077

                   Plaintiff-Appellant,            D.C. No.
                                                   2:18-cv-08518-RGK-AFM
    v.

   TARGET BRANDS, INC., a Minnesota                MEMORANDUM*
   Corporation; et al.,

                   Defendants-Appellees,

   and

   BIGMOUTH INC., an Indiana Corporation;
   et al.,

                   Defendants.

                      Appeal from the United States District Court
                         for the Central District of California
                      R. Gary Klausner, District Judge, Presiding

                              Submitted January 14, 2022**
                                 Pasadena, California

   Before: M. SMITH and OWENS, Circuit Judges, and S. MURPHY, III,*** District

         *
                This disposition is not appropriate for publication and is not precedent
   except as provided by Ninth Circuit Rule 36-3.
         **
                The panel unanimously concludes this case is suitable for decision
   without oral argument. See Fed. R. App. P. 34(a)(2).
Case 2:18-cv-08518-RGK-AFM Document 200 Filed 01/21/22 Page 2 of 5 Page ID #:4826




   Judge.

          Appellant Covves, LLC sued Appellee Target and other retailers for patent

   infringement; two manufacturers indemnified and defended the retailers. Shortly

   before trial, all the parties settled the case.

          In their settlement agreement, the manufacturers agreed to fully indemnify

   the retailers and pay Covves an undisclosed sum to be made in seven payments.

   Covves agreed to dismissal of the action without prejudice and to a dismissal with

   prejudice after the manufacturers’ final payment. The parties then filed a “Joint

   Stipulation of Voluntary Dismissal Without Prejudice” under Federal Rule of Civil

   Procedure 41(a)(1)(A)(ii); in it, the parties requested that the district court retain

   jurisdiction to enforce the settlement agreement. The district court did not issue

   any order subsequent to the filing of stipulation.

          Ten months later, Covves moved for relief from the joint stipulation.

   Covves wanted to reopen the case under the parties’ settlement agreement and

   under Civil Rule 60. Covves believed the manufacturers breached the agreement

   by failing to make a timely settlement payment, but the district court denied the

   motion. And the district court also denied Covves’s motion for reconsideration.

          We review both orders for abuse of discretion. See Keeling v. Sheet Metal



          ***
                The Honorable Stephen Joseph Murphy III, United States District
   Judge for the Eastern District of Michigan, sitting by designation.

                                                2
Case 2:18-cv-08518-RGK-AFM Document 200 Filed 01/21/22 Page 3 of 5 Page ID #:4827




   Workers Int’l Ass’n, Loc. Union 162, 937 F.2d 408, 410 (9th Cir. 1991) (decision

   to vacate a dismissal); Bateman v. U.S. Postal Serv., 231 F.3d 1220, 1223 (9th Cir.

   2000) (Rule 60(b) motion denial); Bliesner v. Commc’n Workers of Am., 464 F.3d

   910, 915 (9th Cir. 2006) (motion for reconsideration denial). “A district court

   abuses its discretion if it does not apply the correct law or if it rests its decision on

   a clearly erroneous finding of material fact.” Bateman, 231 F.3d at 1223 (citation

   omitted).

         The district court did not abuse its discretion when it denied the motion to

   reopen. A district court lacks jurisdiction to enforce a settlement agreement that is

   the basis for a dismissal unless the court expressly incorporates the terms of the

   settlement agreement in an order to dismiss the case. See Kokkonen v. Guardian

   Life Ins. Co. of Am., 511 U.S. 375, 378–81 (1994). A district court will therefore

   have jurisdiction only if it expressly retains jurisdiction over a case after

   settlement, or if a violation of the court’s order arises. “The settlement terms must

   be part of the dismissal . . . for violation of the settlement agreement to amount to a

   violation of the court’s order.” O’Connor v. Colvin, 70 F.3d 530, 532 (9th Cir.

   1995) (citing Kokkonen, 511 U.S. at 381). Because the district court did not issue

   an order that reserved jurisdiction over the case or incorporated the settlement

   terms, it did not retain jurisdiction after the dismissal. Without a dismissal order

   incorporating the settlement terms, “enforcement of the settlement agreement is for



                                               3
Case 2:18-cv-08518-RGK-AFM Document 200 Filed 01/21/22 Page 4 of 5 Page ID #:4828




   state courts, unless there is some independent basis for federal jurisdiction.”

   Kokkenon, 511 U.S. at 376, 381–82 (holding that even though the parties to the

   principal breach of contract suit were diverse, the district court did not have

   “automatic jurisdiction” over the alleged breach of the settlement agreement).

         The district court did not abuse its discretion when it refused to vacate the

   dismissal under Civil Rule 60(b)(6). “Generally, only ‘extraordinary

   circumstances’ justify relief under the rule.” Keeling, 937 F.2d at 410 (citation

   omitted). A district court must find that events leading to a settlement agreement’s

   repudiation were “sufficiently extraordinary” to reopen a case. Id. (finding that

   based on “specific acts,” the repudiation was “perceived as bad faith

   noncompliance”). Repudiation alone is not an extraordinary circumstance

   warranting Rule 60(b)(6) relief. See id. at 410. Indeed, “[i]n the usual course upon

   repudiation of a settlement agreement, the frustrated party may sue anew for

   breach of the agreement and may not . . . reopen the underlying litigation after

   dismissal.” Id.

         The district court did not find that the manufacturers acted in bad faith or

   that any other extraordinary circumstances warranted reopening the case. Because

   Covves argued only that repudiation triggered Rule 60(b)(6) relief, the district

   court did not abuse its discretion when it rejected the argument.

         As for the motion for reconsideration, Covves appealed only the district



                                             4
Case 2:18-cv-08518-RGK-AFM Document 200 Filed 01/21/22 Page 5 of 5 Page ID #:4829




   court’s finding that no extraordinary circumstances existed to support Rule

   60(b)(6) relief. The district court found that it properly denied Rule 60(b)(6) relief

   given that Covves was not prevented from enforcing the settlement in a new

   lawsuit. That finding was not an abuse of discretion because no circumstances

   were beyond Covves’s control that “prevented or rendered [Covves] unable to

   prosecute[ its] case[].” Cmty. Dental Servs. v. Tani, 282 F.3d 1164, 1168 (9th Cir.

   2002) (citation omitted).

         Last, the district court did not err in finding that Target’s opposition to the

   motion to reopen the case was not evidence of bad faith. Target raised meritorious

   defenses in a lawsuit against it, and so the district court's finding that Target did

   not act in bad faith was not clearly erroneous.

         The district court’s orders on appeal are AFFIRMED.




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